                                                       Case 4:07-cv-05944-JST Document 3174-2 Filed 12/05/14 Page 1 of 3




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                                                                                 UNITED STATES DISTRICT COURT
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                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                3                                  (SAN FRANCISCO DIVISION)
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                                                5   IN RE: CATHODE RAY TUBE (CRT)                              Case No. 07-5944 SC
                                                    ANTITRUST LITIGATION                                         MDL No. 1917
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                                                8   This Document Relates To:

                                                9   The Indirect Purchaser Action

                                               10   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.
                                                    et al., No. 11-cv-01656;
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                                                    Siegel v. Hitachi, Ltd., et al.,
                                               12
                   701 Thirteenth Street, NW




                                                    No. 11-cv-05502;
                    Washington, DC 20005
White & Case LLP




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                                                    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
                                               14   No. 11-cv-05513;
                                               15   Target Corp., et al. v. Chunghwa Picture Tubes,
                                               16   Ltd., et al., No. 11-cv-05514;
                                                                                                           [PROPOSED] ORDER RE
                                               17   Sears, Roebuck and Co., et al. v. Chunghwa             DEFENDANTS’ MOTION TO
                                                    Picture Tubes, Ltd., et al., No. 11-cv-05514;          EXCLUDE CERTAIN EXPERT
                                               18
                                                    Interbond Corporation of America v. Hitachi, et        TESTIMONY OF PROFESSOR
                                               19                                                          KENNETH ELZINGA
                                                    al., No. 11-cv-06275;
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                                                    Office Depot, Inc. v. Hitachi, Ltd., et al.,
                                               21   No.11-cv-06276;
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                                                    CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                               23   No. 11-cv-06396;
                                               24   Costco Wholesale Corporation v. Hitachi, Ltd.,
                                               25   et al., No. 11-cv-06397;

                                               26   P.C. Richard & Son Long Island Corporation, et
                                                    al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                               27
                                                    Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                               28   et al., No. 12-cv-02649;

                                                      DECLARATION OF LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT NOTICE OF MOTION
                                                           AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                                      Case No. 07-5944-SC
                                                                                         MDL No. 1917
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                                                    Tech Data Corporation, et al. v. Hitachi, Ltd., et
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                                                    al., No. 13-cv-00157;
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                                                    Sharp Electronics Corp., et al. v. Hitachi, Ltd., et
                                                4   al., No. 13-cv-01173;
                                                5   ViewSonic Corporation, v. Chunghwa Picture
                                                6   Tubes, Ltd., et al., No. 3:14cv-02510
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                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




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                                                      [PROPOSED] ORDER RE DEFENDANTS’ JOINT NOTICE OF MOTION AND MOTION TO EXCLUDE
                                                                        CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                               Case No. 07-5944 SC, MDL No. 1917
                                                       Case 4:07-cv-05944-JST Document 3174-2 Filed 12/05/14 Page 3 of 3




                                                1          Upon consideration of Defendants’ Joint Motion to Exclude Certain Testimony of
                                                2   Professor Kenneth Elzinga and the papers and declarations submitted by the parties in
                                                3   connect with that Motion, it is hereby:
                                                4          ORDERED that the Motion is GRANTED; and it is further
                                                5          ORDERED that Professor Elzinga is precluded from presenting at trial the testimony
                                                6   contained on pages 79-151 of the April 15, 2014 Expert Report of Professor Kenneth G.
                                                7   Elzinga and pages 27-62 of the September 26, 2014 Reply Expert of Professor Kenneth G.
                                                8   Elzinga.
                                                9          IT IS SO ORDERED.
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                                               12   Dated: _________________________               _________________________________
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13                                                  HONORABLE SAMUEL CONTI
                                                                                                   UNITED STATES DISTRICT JUDGE
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                                                    [PROPOSED] ORDER RE DEFENDANTS’ JOINT NOTICE OF MOTION AND MOTION TO EXCLUDE
                                                                      CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                             Case No. 07-5944-SC, MDL No. 1917
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